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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


ALICE SAGE, On Behalf of herself and All
Others Similarly Situated,
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                                                           '1       ;.J
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                                  )
                   Plaintiffs,    )
                                  ) COMPLAINT FOR BREACH OF THE
v.                                ) EMPWYEE RETIREMENT INCOME
                                  ) SECURITY ACT OF 1974 (''ERISA'')
TEXTRON INC.; TERRENCE 0' DONNELL;)
DOUGLAS STEWART; NANCY GILMAN, )
AND; JOHN DOES 1- 10,             )
                                  )
             Defendants.          )
                                  ) JURY TRIAL DEMANDED
                                  )
                                  )
                                                )


                                         COMPLAINT

       Plaintiff, Alice Sage ("Plaintiff'), on behalf of herself and on behalf of a class consisting

of similarly situated participants and beneficiaries (the "Participants") of the Textron Saving Plan

(''the Plan"), by her attorneys, alleges the following for her Complaint (the "Complaint"). The

allegations contained herein are based on the investigation of counsel, except for those

allegations pertaining to the Plaintiff, which are based upon personal knowledge. Plaintiff may,

after discovery andlor disclosure proceedings in this case, seek leave to amend this Complaint to

add new parties or claims.

                                     NATURE OF CLAIM

       1.      Plaintiff, who was a Participant in the Plan, brings this civil enforcement action

under Section 502(a) of the Employer Retirement Income Security Act ("ERISA"), 29 U.S.C. §

1132(a), for plan-wide relief on behalf of a class consisting of all current and former Participants

in the Plan for whose individual accounts the Plan held shares of common stock of Textron Inc.




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 (hereinafter ''Textron'' or the "Company") at any time from December 31, 2006 to January 29,

 2009, inclusive.

        2.      Plaintiffs claims arise under and pursuant to ERISA § 502(e)(2), 29 U.S.c. §

 I 132(e)(2).

        3.      This Court has jurisdiction over this action pursuant to ERISA § 502(e)(2), 29

U.S.C. § 1132(e)(I)

        4.      Venue is proper in this is a District pursuant to ERISA § 502(e)(2), 29 U.S.C. §

 1132(e)(l), because this is a District where the Plan was administered, where breaches of

fiduciary duty took place and/or where one or more Defendants reside or may be found.

                                          THE PARTIES
        5.      Plaintiff is a resident of the State of Kansas. Plaintiff was a Participant in the Plan

at all times relevant to the Complaint and maintained an investment in Textron common stock in

her individual account in the Plan during the Class Period.

        6.      Defendant Textron Inc. is a multi-industry company with a global network: of

aircraft, defense, industrial and finance businesses to provide customers with solutions and

services around the globe. The Company operates its business through five operating segments.

Four of the Company's operating segments represent its manufacturing businesses: Cessna, Bell,

Textron Systems and Industrial. The fifth segment consists of its finance business. Cessna has

four major product lines: Citation business jets, Caravan single engine turboprops, Cessna single

engine piston aircraft and aftermarket services.       Textron Systems provides products to the

defense, aerospace and general aviation markets.            The Industrial segment includes the

Company's Kautex, Greenlee, E-Z-GO and Jacobsen businesses. The finance segment consists

of Textron Financial Corporation, a diversified commercial finance company. The Company is

incorporated in Delaware and maintains its principal place of business at 40 Westminster Street,

Providence, RI 02903. Textron was a Plan fiduciary and is liable herein because of its own

conduct and inaction as Plan Sponsor, because of its authority over Plan investment options, as

well as under the doctrine of respondeat superior (because the fiduciaries, identified below, were

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Textron employees). Additionally, the Company was a Plan fiduciary at all relevant times

because it was the Plan's administrator, as set forth in the Plan's 2007, 2008, and 2008 Forms
ll-Ks.

         7.    At times relevant to this        Complaint,     Defendant Terrence O'Donnell

("'O'Donnell") was a plan fiduciary. Defendant O'Donnell signed the Plan's Form l1-K Annual

Report for the fiscal year ended December 31, 2006, which was filed with the SEC on or about

June 28,2007 (the "2007 ll-K"), the Plan's Form ll-K Annual Report for the fiscal year ended

December 31, 2008, which was filed with the SEC on or about June 26,2009 (the "2009 ll-K"),

all on behalf of the Plan as the Company's Executive Vice President and General Counsel.

Defendant O'Donnell signed each of the 2007 ll-K, 2008 ll-K and 2009 ll-K on behalf of

Textron, as Plan Administrator for the Textron Savings Plan.

         8.    At times relevant to this Complaint, Defendant Douglas Stewart ("Stewart")

served as a Human Resources Compliance Officer for the Company. Defendant Stewart was a

Plan fiduciary at times relevant to this Complaint. Defendant Stewart signed the Plan's Form

5500 Annual ReturnlReport of Employee Benefit Plan for the Plan for fiscal year 2007, dated

October 16, 2008 (the ''2007 5500") in his capacity as employer, plan sponsor or DFE and

Defendant Stewart signed the Plan's Form 5500 Annual ReturnlReport of Employee Benefit Plan

for the Plan for fiscal year 2006, dated December 6, 2007 (the "2006 5500") as both "plan

administrator" and "as employer, plan sponsor or DFE as applicable." Liability is only asserted

against Defendant Stewart for such periods of time as the Defendant Stewart acted as a fiduciary

with respect to the Plan.

         9.    At times relevant to this Complaint, Defendant Nancy Gilman ("Gilman") served

as a Plan fiduciary. Defendant Gilman signed the 2007 5500 as "plan administrator." Liability

is only asserted against Defendant Gilman for such periods of time s Defendant Gilman acted as

a Plan fiduciary. Defendant Gilman signed the 2007 550 as "plan administrator." Liability is

only asserted against Defendant Gilman for such periods of time as Defendant Gilman acted as a

fiduciary with respect to the Plan.

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         10.   John Does 1 - 10 were the committee(s) and individual members of any

 committee(s) which administered the Plan on behalf of the Company. The identity of any

 committee(s) and the members of any such committee(s) which was or were responsible for

 carrying out the provisions of the Plan is currently not known. On information and belief, the

 Doe Defendants were directors and/or officers of the Company and knew or should have known

 of the Company's problems as described herein.

                               CLASS ACTION ALLEGATIONS

         11.   Plaintiff brings this action on her own behalf and as class action pursuant to Rules

 23(a), (b)(I) and/or (b)(2) and/or (b)(3) of the Federal Rules of Civil Procedure, on behalf of a

 class consisting of all current and former Participants in the Plan for whose individual accounts

 the Plan held shares of Textron common stock (including in the form of Textron common stock

 or units of the Textron Stock Fund (the "Fund"» at any time during the Class Period (the

 "Class").

        12.    The members of the Class are so numerous that joinder of all members is

 impracticable. While the exact number of Class members is unknown to Plaintiff at this time

 and can only be ascertained through appropriate discovery, Plaintiff believes that there are, at

 minimum, hundreds of members of the Class.          The Form 5500 Annual ReturnlReport of

 Employee Benefit Plan for the Plan for fiscal year 2007 states that there were 41,617 Plan

 participants as of December 31, 2006 and there were 38,884 as of December 31, 2007.

        13.    Common questions of law and fact exist as to all members of the Class which

 predominate over any questions affecting solely individual members of the Class. Among the

 questions of law and fact common the Class are:

               (a)    Whether Defendants were fiduciaries to Plaintiff and the other members of

 the Class;

               (b)     Whether Defendants breached their fiduciary duties to Plaintiff and the

 other members of the Class;

               (c)    Whether the Plan and its Participants were injured by such breaches; and

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                   (d)    Whether the class is entitled to damages and injunctive relief.

          14.      Plaintiffs claims are typical of the claims of the other members of the Class, as

Plaintiff and all the other members of the Class sustained injury arising out of Defendants'

wrongful conduct in breaching their fiduciary duties and violating ERISA as complained of

herein.

          15.      Plaintiff will fairly and adequately represent and protect the interests of the Class.

Plaintiff has retained able counsel with extensive experience in class action ERISA litigation.

The interests of Plaintiff are coincident with and not antagonistic to the interests of the other

class members.

          16.      Prosecution of separate actions by members of the class create a risk of

inconsistent adjudications with respect to individual members of the class which would establish

incompatible standards of conduct for Defendants, or adjudications with respect to individual

members of the class would, as a practical matter, be dispositive of the interests of the other

members not parties to the adjudications or substantially impair or impede their ability to protect

their interests.

          17.      Questions of law and questions of fact which are common to the members of the

class will predominate over any questions effecting only individual members, and a class action

is superior to other available methods for the fair and efficient adjudication of this Complaint,

taking into account:

                   (a)    The interest of members of the class in individually controlling the

prosecution or defense of separate actions;

                   (b)    The extent and nature of any litigation concerning the controversy already

commenced by or against members of the class;

                   (c)    The desirability or undesirability of concentrating the litigation of the

claims in the particular forum; and

                   (d)    The difficulties likely to be encountered in the management of the class

action.

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         18.    Moreover, because the damages suffered by many of the Participants will be

 relatively small, the expense and burden of individually litigating their rights would make it

 impossible to individually redress the wrongs alleged herein.

         19.    The claims herein are under ERISA and related principles of federal common law

 cannot be asserted by the plaintiffs in derivative actions against the company or in class actions

 under securities law.

        20.     Under and as required by ERISA, Defendants carry insurance for claims asserted

 herein that may not be available to the defendants in any other action.

                                 DESCRIPTION OF TIlE PLAN
        21.     At all times relevant to this complaint, the Plan was an employee benefit Plan

 within the meaning of ERISA §§ 3(3) and 3(2)(A), 29 U.S.c. §§1002(3) and l002(2)(A).

        22.     At all times relevant to this Complaint, the Plan was a "defined contribution" or

 "individual account" Plan within the meaning of ERISA §3(34), 29 U.S.c. § 1002(3), in that the

 Plan provided for individual accounts for each Participant and for benefits bases solely upon the

 amount contributed to the Participant's account, and any income, expenses, gains or losses, and

 any forfeiters of accounts of accounts of other Participants which were allocated to such

 Participant's accounts.

        23.     At all times relevant to this Complaint, the Plan provided a number of different

 options for investment of the Plan's assets, including Textron common stock.

        24.     At all times relevant to this Complaint, Participants were allowed to direct the

 Plan to purchase investments from among the investment options available under the Plan and

 allocate them to their individual accounts.

        25.     The 2007 ll-K, 2008 ll-K and 2009 ll-K were each caused to be filed by

 Textron Inc., in its capacity ad Plan Administrator.

        26.     The 2007 ll-K, states, among other things:

                Description of Plan

                General
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            The Textron Savings Plan (the "Plan") is primarily an employee
            stock ownership plan covering all eligible domestic employees of
            Textron Inc. ("Textron), as defined in the Plan. The remainder of
            the Plan is a profit-sharing and 4OI(k) plan. The Plan is subject to
            the provisions of the Employee Retirement income Security Act of
            1974 (''ERISA) and was amended through 2005, to reflect the
            requirements if recent legislation affecting statutory changes and
            regulations and other plan changes.

            The Plan is currently administered under the terms of a Trust
            Agreement, dated December 1, 2004, with Fidelity Management
            Trust Company (the Trustee or Fidelity). Fidelity also serves as
            the Plan's record keeper.

            Investment Options

            Participants may elect to direct their employee contributions to the
            following funds: The Textron Stock Fund, PIMCO Total Return
            Fund, Vanguard High-Yield Corporate Fund, Fidelity Equity
            Income Fund, Vanguard Institutional Index Fund, Fidelity Blue-
            Chip Growth Fund, Fidelity Small Cap Stock Fund, Fidelity
            Diversified International Fund, Vanguard Developed Markets
            Index Fund, Vanguard Strategic Equity Fund, a number of Fidelity
            Freedom Funds (with carious targeted retirement dates) and the
            Textron Stable Value Fund.

            Contributions

            Participants of the Plan are entitled to elect compensation deferrals
            up to 40% of their eligible compensation, within the limits
            prescribed by Section 40l(k) of the Internal revenue Code (the
            "code"). Participants may also contribute amounts representing
            distributions from other qualified employer retirement plans.
            Participants' pre-tax and after~tax contributions, which are
            matched up to 50% up to 5% of eligible compensation by Textron
            subject to certain ERISA restrictions and plan limits, are recorded
            when Textron makes payroll deductions from participants' wages.

                                            ***
            Effective January 1, 2006, the Plan was amended to provide that
            newly eligible employees who do not affirmatively elect either to
            participate in the Plan or to decline participation in the Plan, will
            automatically be enrolled in the Plan, and will defer three percent
            of their eligible compensation into the Plan.

                                            ***
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             Employer contributions are invested entirely in the Textron Stock
             Fund. Employees have the ability to subsequently reallocate
             matching contributions among any of the investment options
             offered in the Plan.


27.   The 2008 ll-K, states, among other things:

             Description of Plan
             General
             The Textron Savings Plan (the "Plan") is primarily an employee
             stock ownership plan coverage all eligible domestic employees of
             Textron Inc. ("Textron"), as defined in the Plan. The remainder of
             the Plan is a profit-sharing and 401(k) plan. The Plan is subject to
             the provisions of the Employee Retirement Income Security Act of
             1974 (''ERISA'') and was amended and restated effective
             November 1, 1999, and further amended through 2007, to reflect
             the requirement of recent legislation affecting statutory changes
             and regulations and other plan changes.

             The Plan is currently administered under the terms of a Trust
             Agreement, dated December 1, 2004, with Fidelity Management
             Trust Company (the Trustee or Fidelity). Fidelity also serves as
             the Plan's record keeper.

             Investment Options

             Participants may elect to direct their employee contributions to the
             following funds: The Textron Stock Fund, PIMCO Total Return
             Fund, Vanguard High-Yield Corporate Fund, Fidelity Equity
             Income Fund, Vanguard Institutional Index Fund, Fidelity Blue-
             Chip Growth Fund, Fidelity Small Cap Stock Fund, Fidelity
             Diversified International Fund, Vanguard Institutional Developed
             Markets Index Fund, Vanguard Strategic Equity Fund, a number of
             Fidelity Freedom Funds (with various targeted retirement dates)
             and the Textron Stable Value Fund.

             Contributions

            Participants of the Plan are entitled to elect compensation deferrals
            up to 40% of their eligible compensation, within the limits
            prescribed by Section 40l(k) of the Internal revenue Code (the
            "code"). Participants may also contribute amounts representing
            distributions from other qualified employer retirement plans.
            Participants' pre-tax and after-tax contributions, which are
            matched up to 50% up to 5% of eligible compensation by Textron

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            subject to certain ERISA restrictions and plan limits, are recorded
            when Textron makes payroll deductions from participants' wages.

                                            ***
            Effective January 1, 2006, the Plan was amended to provide that
            newly eligible employees who do not affirmatively elect either to
            participate in the plan or to decline participation in the Plan, will
            automatically be enrolled in the Plan, and will defer three percent
            of their eligible compensation into the Plan. An employee is
            eligible immediately when hired.

                                            ***
            Employer contributions are invested entirely in the Textron Stock
            Fund. Employees have the ability to subsequently reallocate
            matching contributions among any of the investment options
            offered in the Plan.
      28.   The 2009 11-K, states, among other things:
            Description of Plan
            General

            The Textron Savings Plan (the ''Plan'') covers all eligible domestic
            employees of Textron me. (Textron), as defined in the Plan. The
            Plan invests in the Textron Stock Fund along with other mutual
            funds and Guaranteed mvestment contracts. The portion that
            invests in the Textron Stock Fund is an employee stock ownership
            plan. The remainder of the Plan is a profit-sharing and 401(k)
            plan. The Plan is subject to the provisions of the Employee
            retirement mcome Security Act of 1974 (ERISA) and was
            amended and restated effective November 1, 1999, and further
            amended through 2009, to reflect the requirements of recent
            legislation affecting statutory changes and regulations and other
            plan changes.

            The Plan is currently administered under the terms of a Trust
            Agreement, dated December 1, 2004 (as amended January, 2009),
            with Fidelity Management Trust Company (the Trustee or
            Fidelity). Fidelity also serves as the Plan's record keeper.

            Investment Options

            Participants may elect to direct their employee contributions to the
            following funds: The Textron Stock Fund, PIMCO Total Return
            Fund, Vanguard High-Yield Corporate Fund, Fidelity Equity

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                Income Fund, Vanguard Institutional Index Fund, Fidelity Blue-
                Chip Growth Fund, Fidelity Small Cap Stock Fund, Fidelity
                Diversified International Fund, Vanguard Institutional Developed
                Markets Index Fund, Vanguard Strategic Equity Fund, a number of
                Fidelity Freedom Funds (with various targeted retirement dates)
                and the Textron Stable Value Fund.

                Contributions

                Participants of the Plan are entitled to elect compensation deferrals
                up to 40% of their eligible compensation, within the limits
                prescribed by Section 401(k) of the Internal revenue Code (the
                "code"). Participants may also contribute amounts representing
                distributions from other qualified employer retirement plans.
                Participants' pre-tax and after-tax contributions, which are
                matched up to 50% up to 5% of eligible compensation by Textron
                subject to certain ERISA restrictions and plan limits, are recorded
                when Textron makes payroll deductions from participants' wages.

                                                ***
                Eligible employees are subject to automatic enrollment on the 60th
                day after their date of hire, if they have not specifically elected to
                be excluded from the plan. The automatic enrollment is for 3% of
                eligible compensation per pay period. An employee who is
                automatically enrolled may elect to change or suspend their
                enrollment in the plan at any time.

                                                ***
                Employer contributions are invested entirely in the Textron Stock
                Fund. Employees have the ability to subsequently reallocate
                matching contributions among any of the investment options
                offered in the Plan.
         29.    The 2007 ll-K, 2008 ll-K, and 2009 ll-K also represent that approximately

  $1,167,869,000 of the Plan's total investments of $2,367,593,000, or approximately 49% of the

  investments of the Plan, were invested in Textron common stock as of December 31, 2006, that

  approximately $1,611,547,000 of the Plan's total investments of $2,968,360,000, or

  approximately 54% of the investments of the Plan, were invested in Textron common stock as of

  December 31, 2007, and that approximately $389,220,000 of the Plan's total investments of




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  $1,387,058,000, or approximately 28% of the investments of the Plan, were invested in Textron

  common stock as of December 31,2008.

         30.     During the Class Period, the market price of Textron common stock was

  artificially inflated due to the concealment of Textron's true financial and operating condition as

  described herein.   Throughout the Class Period, Textron common stock was not a prudent

  investment for the Participants' individual retirement accounts under the Plan. IT Defendants had

  made full disclosure to the Participants of Textron's true financial and operating condition, as

  described herein, the Participants would not have chosen Textron common stock as an

  investment option under the Plan to the extent that they did. Indeed, had the truth been disclosed

  to the Participants, Textron common stock would not have been chosen by many Participants as

  an investment option to all.

         31.     Defendants, as fiduciaries of the Plan, were required by ERISA to furnish certain

 information to Participants. For example, ERISA Section 101 (29 U.S.C. §1021) requires the

  Plan's Administrator to furnish summary Plan Descriptions ("SPD") to Participants.         ERISA

  Section 102, 29 U.S.c. §1022 provides that an SPD must apprise Participants of their rights and

 obligations under the Plan.        In addition, purported to describe (including through the

 incorporation of other company documents) the business and operations of Textron, as well as

 important information concerning Textron's Directors and senior executives.

         32.     At all times relevant to this Complaint, Defendants had the discretion to establish

 and change the investment alternatives among which Participants could direct the investment of

 the Plan's assets allocated to their accounts.

         33.     At all times relevant to this Complaint, Defendants had a duty to review the

 Plan's investment policies and the selection and the performance of investment alternatives

 offered under the Plan. There was no requirement that any assets of the Plan be invested in

 company stock or that Company stock be continued as an investment alternative.

         34.     At all times relevant to this complaint, Defendants had a duty to obtain from the

 Company information necessary for the proper administration of the Plan.

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          35.    At all times to relevant to this Complaint, Defendants were ,fiduciaries of the Plan

  as defmed by ERISA § 3(21)(A), 29 U.S.C. § lOO2(21)(A), because they exercised discretionary

  authority or control respecting management or disposition of assets and had discretionary

  authority or responsibility in the administration of the Plan.

          36.    Each Defendant is liable for the breaches of fiduciary duty of the other

  Defendants under ERISA § 405, 29 U.S.C. § 1105.

                                BREACHES OF FIDUCIARY DUTY
          37.    As required by ERISA, Defendants issued one or more SPDs, each of which

  either referred to or incorporated by reference the documents filed by Textron with the SEC

  under the federal securities laws.        These filings, however, contained numerous material

  misrepresentations and omitted to state material facts which were necessary to make the

  statements which are made not misleading.

         38.     In particular, Textron was an imprudent retirement investment for the Plan during

  the Class Period because of, inter alia, the facts that:

                 (a)     The Company's Qass Period forecasts contained in the SPD or in

  documents incorporated by reference in the SPDs were unreasonably over-optimistic in light of

  market condition;

                 (b)     The Company's "record backlogs" contained in the SPD or in documents

  incorporated by reference in the SPDs of Cessna orders were not as firm as Defendants' led

  Participants to believe which undermined the reasonableness of the forecasts referenced above;

                 (c)     The Company did not timely write down assets due to generally poor debt

   management ensured that the assets of its fmance were materially overstated;

                 (d)     The Company's credit ratings would necessarily suffer as a result of

   material overstatements in the Company's finance segment when the deterioration began to be

   reported to the investing public;

                 (e)     As a result of the above and other facts, the Company's projections were

   skewed and its ability to generate revenue was severely jeopardized.

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                 (f)       The Company lacked the required internal controls, and, as a result, the
  Company's projections were based upon defective assumptions; and

                 (g)       As a result of the above, the Company's stock was both artificially inflated

  and an imprudent retirement investment.

         39.     Defendants were not obligated by ERISA or by the Plan to discharge their duty to

  provide infonnation to Participants through the mechanism of incorporation of SEC filings.
  Defendants could have fulfilled this duty by setting forth sufficient and accurate information in

  the SPDs themselves, and updating such information as appropriate.               Defendants chose,

  however, to adopt the mechanism of incorporation of SEC filings into the SPDs, and the SEC

  filings contained materially false and misleading infonnation which caused loss to the Plan and

  the Participants as set forth above.

         40.     At all relevant times, Defendants knew or should have known that Company stock

  was an imprudent retirement investment for the Participants and the Plan.
         41.     At all relevant times, Defendants knew or should have known of the material

  misrepresentations and omissions, including those filed with the SEC and incorporated by
  reference in the SPDs.

         42.     Before the start of, and during the Class Period, Textron played a role in Saddam

  Hussein's wide-reaching scheme to profit from the Oil-for-Food program in which Textron paid

  bribes to the Iraqi government. In late August 2007, Textron agreed to pay $1.15 million as part

  of an agreement with the SEC in the U.S. District Court in Washington.

         43.     On January 18, 2007, the Company filed a Fonn 8-K with the SEC. The January

  18,2007 Fonn 8-K contained as an exhibit, a press release the Company issued on January 18,

  2007 entitled Textron Comments on fourth Quarter 2006 Earnings Outlook. The press release
  stated, in pertinent part, that the Company 'llas incurred additional costs related to its Bell

  Helicopter H-l program during the fourth quarter of 2006.             However, stronger financial

  perfonnance at Cessna, Textron Systems and Textron Financial, plus a lower tax rate, more than

  offset the additional H-l costs booked in the quarter. This will result in reported fourth quarter

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  earnings per share from continuing operations in excess of the company's previous guidance

  range of $1.35 - $1.45." (emphasis added).
         44.     On April 19, 2007, the Company filed a Form 8-K with the SEC. The April 19,
  2007 Form 8-K contained as an exhibit a press release the Company issued on April 17, 2007
  entitled ''Textron Delivers Strong First Quarter Results; Reports EPS from Continuing
  Operations of $1.55 compared to $1.19 a Year Ago; Books 122 New Business Jet Orders;
  Increases 2007 Expected EPS from Continuing Operations Range by $0.20." The press release

  stated in pertinent part as follows:

         Textron Inc. (NYSE:TXT) today reported a 30% increase in earnings per
         share from continuing operations on a 12.6% revenue increase. The
         Company also raised earnings guidance for 2007, reflecting continued
         expectations of solid top-line growth and strong operational performance.

         "we outperformed again this quarter with strong organic revenue growth
         and improves profitability," said Textron Chairman, President and EP
         Lewis B. Campbell. "Demand for our products and further improvements
         in enterprise management continue to drive enhanced results," Campbell
         added.

                                               ***
         Revenues at Cessna increased $99 million primarily due to citation
         business jet mix and favorable pricing.

         Segment profit increased $38 million as a result of higher pricing and mix,
         partially offset by inflation and increased development expenses.
         Cessna's backlog increased to $9.0 billion at the end of the first quarter
         from $8.5 billion at the end of last year.
         45.     On July 19, 2007, the Company filed a Form 8-K with the SEC. The July 19,
  2007 Form 8-K contained as an exhibit a press release the Company issued on July 19, 2007
  entitled "Textron Reports Strong Second Quarter Results; EPS from Continuing Operations of
  $1.69 Compared to $1.34 a Year Ago; Increases 2007 Expected EPS range by $0.25 and Fee

  Cash Flow by $50 Million, Board Authorizes Two-for-One Stock Split, 19% Increase to




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  Annualized Dividend Rate and New Share Repurchase Program." The press release stated in

  pertinent part as follow:

         Textron Inc. (NYSE:TXT) today reported a 26% increase in earnings per
         share from continuing operations on a 15% revenue increase. The
         company also raised earnings and cash flow guidance for 2007.

         ''We experienced another strong quarter of solid revenue growth and
         improved profitability," said Textron Chairman, President and CEO Lewis
         B. Campbell. "Demand for our products and further improvements from
         our Enterprise Management initiatives continue to drive enhances results,"
         Campbell added.

                                               ***
         Textron's Board of Directors announced that it had approved a stock split.
         an increase in the common stock dividend and a new share repurchase
         program.

         "These actions by our Board demonstrate confidence in our ability to
         execute and underscore the company's commitment to value creation
         through a balanced strategy of growth and returning cash to the
         shareholder," said Campbell.

                                               ***
         (Per share amounts are stated on a pre-split basis) Campbell added, "Given
         the strength of demand for our innovative products and our progress in
         execution improvements this far, we are raising our earnings and cash
         flow outlook for the year."

         Textron expects full-year 2007 revenues will be up about 12% from last
         year, while earnings per share from continuing operations now expected to
         be between $6.35 and $6.55, $.25 per share higher than its previous
         guidance. Third quarter earnings per share from continuing operations are
         expected to be between $1.45 and $1.55. The company now expects full-
         year 2007 free cash flow to be in the range of $550 -$600 million, up $50
         million from its previous expectation.

                                               ***
         Revenues at Cessna increased $198 million in the second quarter due to
         higher volume, primarily related to Citation jets, and pricing Cessna
         delivered 95 Citation business jets in the quarter compared to 76 in the
         second quarter of 2006. Segment profit increased $47 million due to


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         higher pricing and the impact of the higher volume, partially offset by
         inflation and increased product development expenses.

         Cessna's backlog increased to $10.4 billion at the end of the second
         quarter of 2007, compared to $9.0 billion for the last quarter.


         46.    On October 18, 2007, the Company fIled a Form 8-K with the SEC. The October

  18,2007 Form 8-K contained as an exhibit a press release the Company issued on October 18,

  2007, entitled ''Textron Reports Strong Third Quarter Results on 15% Year-Over-Year Revenue

 Growth; EPS from Continuing Operations of $0.95 Compared to $0.68 a Year Ago; Increases

 Expected 2007 EPS from Continuing Operations Range by $0.22 and Free Cash Flow by $50

 Million Books 609 New Business Jet Orders to Date." The press release stated in pertinent part

 as follows:

        Textron Inc. (NYSE:TXT) today reported a 40% increase in earnings per
        share from continuing operations on a 15% revenue increase.

        "Once again, we delivered an excellent quarter with strong organic
        revenue growth and improved profitability," Textron Chairman, President
        and CEO Lewis B. Campbell.           "Our sustained strong operating
        performance allowed us to exceed for financial target while continuing to
        invest in our longer-term growth."

        Third quarter 2007 revenue was $3.3 billion, up 15% from last year. Third
        quarter 2007 income from continuing operations was $0.95 per share,
        compared to $0.68 in the third quarter of 2006. Including discontinued
        operations, third quarter 2007 net income was $1.00 per share compared to
        $0.66 a year ago.

                                           ***
        Campbell added, "We see strong end-market demand continuing through
        the rest of the decade, which in concert with the benefits of our ingoing
        Transformation strategy, positions us to deliver significant growth in
        earnings, cash flow and shareholder value."

                                           ***
        Revenues of Cessna increased $218 million due to higher volume,
        primarily related to Citation business jests, and higher pricing.



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         Segment profit increased $60 million due to higher pricing and volume,
         partially offset by inflation and increased product development expenses.

         Cessna's backlog hit another all-time high of $11.9 billion at the end of
         the third quarter of 2007, up $1.5 billion from the end of the second
         quarter.

                                            ***
        Revenues in the Finance segment increase $2 million primarily due to an
        increase in securitization and other fee income and higher average fmance
        receivable. These increases were largely offset by the impact of a
        transaction in 2006 associated with a leveraged lease asset and market
        pricing pressures.

        Profit in the Finance segment increased $1 million due to an increase in
        securitization and other fee income and a decrease in the provision for
        losses, partially offset by the impact of the 2006 leveraged lease
        transaction and higher operating expenses. The decrease in provision for
        losses is primarily attributable to lower growth in the receivable portfolio
        during the third quarter of 2007.


        47.     On January 24,2008, the Company filed a Form 8-K with the SEC. The January

  24, 2008 Form 8-K contained as an exhibit a press release the Company issued on January 24,

 2008 entitled ''Textron Reports 32 Percent Increase in Fourth Quarter Earnings Per Share on 18

 Percent Revenue Growth; Reports EPS from Continuing Operations of $1.02 compared to $0.77

 a Year Ago; Books 164 New Business Jet Orders During Fourth Quarter; Sets New Record with

 733 Jet Orders in 2007; Announces Approval of Large Cabin Citation Jet; Expects 2008 EPS

 from Continuing Operations Range of $3.75 to $3.95." The press release states in pertinent part

 as follows:

        Textron Inc. (NYSE:TXT) today reported string fourth quarter results with
        a 32% increase in earnings per share from continuing operations on an
        18% revenue increase. Cash flow provided by continuing operations for
        the full-year was $1.2 billion, resulting in free cash flow of $796 million.
        The company generated a 24.8% return on invested capital for 2007, up
        800 basis points from last year.

        "Our fourth quarter culminates a year of powerful performance at Textron
        on many fronts. The positive impact of our ongoing journey to become


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       the premier multi-industry company is apparent in our topOline growth and
       our ability to convert that growth into profits and premium shareholder
       returns," said Textron Chairman, President and CEO Lewis B. Campbell.

       Fourth quarter2007 income from continuing operations was $1.02 per
       share, compared to $0.77 in the fourth quarter of 2006. Including
       discontinued operations, fourth quarter 2007 net income was $1.00 per
       share compared to $0.76 a year ago. Fourth quarter 2007 revenue was
       $3.8 billion, compared to $3.2 billion last year.

       Full-year 2007 income from continuing operations was $3.59 per share,
       compared to $2.71 a year ago. Including discontinued operations, 2007
       full-year net income was $3.60 per share, compared to 2.31 last year.

                                          ***
       2008 outlook

       Textron expects 2008 revenues to be about $15 billion, up 13% and
       earnings per share to be between $3.75 and $3.95. First quarter earnings
       per share are forecasted to be between $0.75 and $0.85 per share.
       Textron's outlook fully includes the 2008 development costs for the large
       cabin Citation program.

       The company expects 2008 free cash flow in the range of $700 - $750
       million, reflecting expected capital expenditures of about $550 million.

       Campbell commented, ''While we expect softening and maybe even a
       temporary downtown in the U.S. economy in 2008, we believe we are
       particulorly well positions given OUT strong aircraft and military backlog
       and history ofprudent underwriting at Textron Financial. Even with the
       softer U.S. economy, we expect another banner year of business jet
       orders exceeding cu"ent year deliveries. Given that our jet backlog
       already extends well into 2009, this bodes well for continued,
       uninte"Upted growth well into the next decade at Textron." [emphasis
       added]

                                          ***
       Cessna revenues and segment profit increased $329 million and $75
       million, respectively, in the fourth quarter of 2007. Revenues increased
       due to higher volumes and higher pricing. Segment profit increased due to
       the higher pricing, the impact of higher volume and favorable warranty
       performance, partially offset by inflation and increased product
       development expenses.



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         48.    On April 17, 2008, the Company filed a Form 8-K with the SEC, The April 17,

  2008 Form 8-K contained as an exhibit a press release the Company issued on April 17, 2008

  entitled "Textron Reports First Quarter EPS from Continuing Operations of $0.93, up 19.2%;

  Books 235 New Business Jet Orders; Record $22 billion Aircraft and Defense Backlog Signals

  Strong Growth for Years to Come." The press release states in pertinent part as follows:

         Textron Inc. (NYSE:TXT) today reported strong first quarter results with
         a 19.2 percent increase in earnings per share from continuing operations
         on a revenue increases of 18.7 percent. Cash flow provided by operating
         activities of continuing operations for the quarter was $158 million,
         resulting in free cash flow of $78 million.

         "Global demand continues to be brisk across our aircraft and defense
         businesses, which led to another significant expansion in our backlog
         during the quarter," said Textron Chairman, President and CEO Lewis B.
         Campbell. ''We also had a strong performance in our manufacturing
         operations, which is important as we expand our capacity to meet growing
         requirements for our products and services," Campbell added.

         First Quarter 2008 income from continuing operation was $0.93 per share,
         compared to $0.78 in the fIrst quarter of 2007. Including discontinued
         operations, fIrst quarter of 2008 net income was $0.91 per share compared
         to $0.77 a year ago. First quarter 2008 revenue was $3.5 billion,
         compared to $3.0 billion last year.

         Reflecting strong demand in aircraft and defense, combined backlog at
         Cessna, Bell Helicopter and Textron Systems increased to $22.0 billion at
         the end of the quarter, up from $18.8 billion at the end of 2007.

         2008 Outlook

         Textron now expects 2008 earnings per share from continuing operations
         to be between $3.80 and $4.00, up $0.05 per shares from our previous
         forecast. Second quarter earnings per share are expected to be between
         $0.90 and $1.00 per share. The company continues to expect free cash
         flow for the year in the range of $700 - $750 million.

                                                ***
        Cessna's revenues increased $278 million in the quarter from last year's
        same periods reflecting delivery of 95 business jets compared to 67 in last
        year's fIrst quarter, improving pricing and revenues from the acquisition
        of Columbia Aircraft.

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         Segment profit increased $52 million, reflecting higher volumes, improves
         pricing and favorable warranty performance, partially offset by inflation
         and increased engineering and product development expenses.

         Cessna backlog at the end of the first quarter was $144 billion, up from
         $26 billion at year-end 2007.


         49.     On June 13, 2008, the Company filed a Form 8-K with the SEC. The June 13,

  2008 Form 8-K contained as an exhibit a press release the Company issued on June 13, 2008

  entitled "Textron Updates Second Quarter EPS Forecast and Reaffirms Full-Year Forecast."

  Textron announced it would lower its earnings forecast for Q2 2008 because of significantly

  lower fmance segment result. The press release states in pertinent part as follows:

         Textron Inc. (NYSE:TXT) reported today that is now expects 2008 second
         quarter earnings per share from continuing operations to be in the range of
         $0.90 to $1.00. The company continues to forecast full-year earnings per
         share from continuing operations in the range of $3.80 to $4.00 and free
         cash flow of $700 - $750 million.

         The company said that profit in its Finance segment would be significantly
         less than previously forecast. Lower profitability in Finance will result
         from higher second quarter pre-tax lean loss provisions of about $20
         million and a pre-tax charge of amount $10 million that will be recorded
         in the quarter related to Sale-In, Lease-Out (SILO) transaction previously
         challenges by the IRS. Weaker is expected to be offset primarily by
         higher profits in the aircraft and defense businesses.

         "Despite further softening on our commercial finance business, 2008 is
         shaping up to be another very good year for Textron overall as we
         continue to see strong demand and performance at Cessna, Bell Helicopter
         and Textron Systems," said Textron Chairman, President and CEO Lewis
         B. Campbell.


         50.     On July 17, 2008, the Company filed a Form 8-K with the SEC. The July 17,

  2008 Form 8-K contained as an exhibit a press release the Company issued on July 17, 2008

  entitled "Textron Reports Second Quarter EPS from Continuing Operations of $1.03; Record

  $23.5 Billion Aircraft and Defense Backlog; Manufacturing Businesses Post 16% Organic

  Growth." The press release states in pertinent part as follows:

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       Textron Inc. (NYSE:TXT) today reported solid second quarter results with
       a 21 percent increase in earnings per share from continuing operations on
       a revenue increase of 21 percent. Year-to-date cash flow provided by
       operating activities of continuing operations was $413 million, resulting in
       free cash of $220 million.

       "We achieved 19$ organic growth in our aerospace and defense
       businesses, as global demand remained very strong and led to another
       record level of backlog," said Textron Chairman" President and CEO
       Lewis B. Campbell. "Likewise, we had double-digit organic growth at E-
       Z-OO, where our new golf car has been well received, and Fluid & Power
       where our energy-related products are in high demand," Campbell added.

       Second quarter 2008 income from continuing operations was $1.03 per
       share, compared to $0.85 in the second quarter of 2007. Including
       discontinued operations, second quarter 2008 net income was $1.02 per
       share compared to $0.83 a year ago. Second quarter 2008 revenue was
       $3.9 billion, compared to $3.2 billion last year.

       Reflecting continued strong demand in aircraft and defense combined
       backlog at Cessna, Bell Helicopter and Textron Systems increased to
       $23.5 billion at the end of the quarter, from $18.8 billion at the end of last
       year.

       2008 Outlook

       Textron continues to expect 2008 earnings per share from continuing
       operation to be between $3.80 and $4.00 per share. The company is
       initiating its third quarter earnings forecast at $0.80 to $0.90 per share.
       The company continues to expect free cash flow the year will be in the
       range of $700 to $750 million.

       Segment Results

       Cessna

       Cessna's second quarter revenues increased $298 million year last year's
       same period, reflecting delivery of 117 business jests compared to 95 in
       2007, improved pricing and a benefit from the Columbia Aircraft
       Manufacturing Corporation acquisition.

       Segment profit increased $62 million due to the impact from higher
       volume, improved pricing, partially offset by inflation, and increased
       engineering and product development expense.


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        Cessna backlog at the end of the second quarter was $16.0 billion, up $3.4
        billion from the end of last year, reflecting 437 Citation jet orders in the
        first half.

                                                     ***
        Finance segment revenues decreased $62 million primarily due to lower
        market interest rates and a decrease in fee income, which reflected last
        year's $21 million gain from the sale of a leveraged lease, offset by $5
        million in higher securitization gains this year. Revenues were also
        reduced to reflect the estimated impact on the company's leveraged lease
        portfolio related to a court decision involving other companies addressing
        the tax treatment of Sale-In, Lease-Out (SILO) transactions.

        Profit in the Finance segment decreased $55 million due to an increased
        provision for loan losses, the decreases in fee income, which reflected last
        year's $21 million gain, the impact of higher borrowing costs relative to
        various market rate indicates and the SILO adjustments. These reductions
        in profit were partially offset by a benefit from increased receivable yields
        on loans with interest rate floors and a reduction in selling and
        administrative expenses. The increase in the provision for loan losses was
        primarily driven by a reserve established for one account in the golf
        [mance portfolio and increased loan loss provisions in the distribution
        finance portfolio.

        The sixty-day plus delinquency percentage increased to 0.61 percent of
        fmance receivables from 0.33 percent at the end of the first quarter.
        Nonperforming assets (NPA) increased to 2.31 percent of total finance
        assets from 1.84 percent at the end of the first quarter.



        51.    The truth began to emerge leading up to the filing of the Company's Form 8-K

 October 16, 2008 which contained as an exhibit a press release the Company issued on October

 16, 2008 entitled ''Textron Reports Tltird Quarter EPS from Continuing Operations of $0.85;

 Strategic Actions Announced, Led by TFC Downsizing Maintains Record Aircraft & Defense

 Backlog."

        52.    Before the press release, on or about September 16, 2008, analysts at

 Thestreet.com downgraded Company stock noting "weaknesses including poor profit margins, a

 generally disappointing performance in the stock itself and generally poor debt management."

 Additionally, the stock fell heavily after Reuters report on September 26, 2008 noted that the

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  consensus earnings for Textron were $0.89, down six cents from the third quarter of the previous

  year.   On September 29, 2008 (the trading day after the Reuters consensus earnings were

  reported, the Textron closed at $27.5 per share, down 16.5% from its open of $32.95 per share on

  September 26, 2008.

          53.   The press release attached to the Company's October 16, 2008 Form 8-K

  confIrmed Thestreet.com's downgrade, and stated in pertinent part as follows:

                Textron Inc. (NYSE: TXT) today reported third quarter 2008
                income from continuing operations of $210 million or $0.85 per
                share, compared to third quarter 2007 income from continuing
                operations of $225 million or $0.88 per share. Last year's result
                included a one-time gain related to an insurance settlement, worth
                about $0.05 per share.

                                                     ***
                "Strength in our aircraft and defense businesses offset weaker than
                expected performance in the fInance business arising from the
                challenging economic environment," said Textron Chairman,
                President and CEO Lewis B. Campbell. 'We remain committed to
                achieving strong performance results at our aircraft and defense
                businesses as we work through the issues facing us in our other
                segments," Campbell added.

                Combined backlog at Cessna, Bell and Defense and Intelligence
                remained a record $23.5 billion at the end of the quarter.

                                                     ***
                Strategic Actions

                Campbell announced, "Given the sustained turmoil in world credit
                markets we are taking a number of strong and measured steps, including:

                    •   a downsizing of Textron Financial Corporation (TFC),

                    •   a strengthening of our already strong capital and liquidity
                        positions,

                    •   and an accelerated cost reduction program across the company."

                The first action is to reduce the size of TFC, Textron's commercial fmance
                business. The company will be exiting it Asset Based Lending and

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              Structured Capital Segments, and several additional product lines through
              an orderly liquidation as market conditions allow. TFC will also limit new
              originations in its Distribution Finance, Golf, and Resort portfolios,
              consistent with maintaining franchise value and or commitment to service
              existing credit-worthy customers.

              As a result of the decision to downsize TFC, Textron expects to take a
              non-cash impairment charge in fourth quarter of up to $169 million, which
              represents the current goodwill balance at TFC. The company will also
              incur restructuring charges for headcount reductions and consolidations.

              Textron will make capital contributions to TFC, as appropriate, to
              strengthen TFC's capital structure and to maintain certain minimum
              requirements under TFC's committed credit facilities and Textron's
              support agreement with TFC.

              "Going forward, we will continue to carefully evaluate the appropriate
              range of remaining lending activities at TFC in light of strategic fit and
              continuing developments in the capital markets, all in a manner that
              maximizes value for shareholders in any current or future [mancial market
              scenarios," Campbell noted.

              In order to maximize funding predictability in the current environment,
              Textron has suspended its share repurchase program and is exploring a
              number of options to reduce a portion of its outstanding commercial paper
              funding.

              Finally, Textron is initiating an accelerated overhead cost reduction and
              productivity improvement program across the enterprise. Including
              restructuring costs at TFC, the company expects total restructuring charges
              of about $25 million, with most of the charges occurring in the fourth
              quarter. Annualized benefits associated with the charges are estimated to
              be $40 million.

              Segment Results

              Cessna

             Cessna's third quarter revenues and segment profit increased $150 million
             and $16 million, respectively, compared with the third quarter of 2007.
             Revenues increased due to higher volume and pricing, along with the
             benefit from an acquisition. The increase in volume reflects higher jet and
             Caravan deliveries, partially offset by lower used aircraft sales. Cessna
             delivered 124 jets in the quarter, compared with 103 jets last year.




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             Segment profit increased due to higher volumes and pricing in excess of
             inflation, partially offset by higher engineering and product development
             expense and higher overhead costs.

             Cessna backlog at the end of the third quarter was $15.6 billion, up $3
             billion from the end of last year, reflecting 484 jet orders taken year-to-
             date, with 47 jet orders in the quarter.

                                                   ***
             Finance

             Finance revenues decreased $30 million in the third quarter, due to lower
             market interest rates partially offset by the benefits of higher volume and
             interest rate floors. Segment profit decreased $36 million due to an
             increase in the provision for loan losses and higher borrowing costs,
             partially offset by the benefit of interest rate floors.

             Borrowing costs increased relative to the target Federal Funds rate as
             credit market volatility continued during the quarter. The increased
             borrowing costs were driven by a widening in the spread between LffiOR
             and the target Federal Funds rate and, to a lesser extent, from increased
             borrowing spreads on debt in comparison with 2007. These increases
             were substantially offset by increased receivable pricing as a result of
             variable-rate teceivables with interest rate floors.

             Sixty-day plus delinquencies increased to 1.06 percent of finance
             receivables from 0.61 percent at the end of the second quarter.
             Nonperforming assets increased to 2.67 percent of total finance assets
             from the second quarter level of 2.31 percent.

             2008 Outlook

             Excluding goodwill impairments and restructuring charges, Textron
             expects fourth quarter 2008 earnings per share from continuing operations
             will be between $0.80 and $0.90 per share. GAAP earnings per share
             from continuing operations are expected to be between $0.04 and $0.14
             per share. The company continues to expect free cash flow for the year
             will be in the range of $700 to $750 million.

             Campbell concluded, "The economic environment will continue to be
             uncertain over at least the next several quarters. However, we believe the
             actions we are taking, combined with our government programs and
             aircraft backlog, position us to perform well through these difficult times."




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          54.     Also on October 16, 2008, a news release issued by Brian Foley Associates, an

  industry expert in business aviation consulting, issued a press release entitled "Latest Industry

  Delivery Forecasts Unrealistic Predictions Unveiled at NBAA Too Optimistic" warning, among

  other things, that:

                 Recent delivery forecasts outdated the day they were published, Brian
                 Foley Associates (BRiFO) asserts that the future will not be as rosy as
                 other predict. "If they haven't already, new aircraft orders are poised to
                 fall offa cliff. Who in their right mind would part with tens of millions of
                 dollars in this economic environment to buy an aircraft" warns BRiFO
                 consultancy President Brian Foley.

                  "The record order books will not be as firm as OEMs would like to think,
                  and we're warning our clients to expect double-digit percentage order
                  cancellations depending on the manufacturer. Those OEMs with an
                  exposure to start-up charter, air taxi and fractional programs are most at
                  risk, as are those who always seemed to have near-term delivery positions
                  available while the rest of the industry had multi-year waits." [emphasis
                  added].


         55.      In response, analysts downgraded Textron, which fell 17% to $15.52 per share.

         56.      On December 22, 2008, the Company announced a plan to exit all of Textron

  Financial COlporation's commercial finance business through a combination of orderly

  liquidation and selected sales, other than that portion of the business supporting the fInancing of

  customer purchases of Textron-manufactured products.

         57.      The Company's stock plunged twenty percent following the announcement.

  Based on the news, Textron stock plunged $3.14, or 20 percent, to $12.20 at 4:01 p.rn. in New

  York Stock Exchange composite trading. It was the largest one day percentage loss for Textron

  stock since September 26, 2001.

         58.      Summarizing the problems that Defendants knew or should have known of

  throughout the Class Period, and which would soon be revealed to the Plan's participants, in a

  January 21, 2009 article entitled "Corporate News: Business-Jet Demand Is Stalling --- After a




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  Five Year Climb, Orders Slow Sharply and Cancellations Are Up" The Wall Street Journal

  reported that:
                   Demand for multimillion-dollar business jets is arcing back to earth after a
                   five-year climb, bringing an end to the industry's biggest boom.

                   Corporate jets are getting less use as global business activity drops off and
                   companies cut back perks like private jet travel. Orders have slowed
                   sharply and cancellations are increasing as the buyers that fueled the
                   ascent in Asia, the Middle East, the U.S. and Europe come under pressure.

                   The biggest hit could come from a shakeout among fleet buyers, the
                   fledgling charger operators, air-taxi services and fractional-ownership
                   providers - many of them startups - that sprang up when the world
                   economy was humming along. A drop in orders or rise in cancellations
                   could hurt manufacturers like Canada's Bombardier Inc., Brazil's Embraer
                   S.A. and Textron Inc.'s Cessna.

                   ''The market is going down so fast that we're all getting bloody noses,"
                   said Brian Foley, a New Jersey-based consultant.               He expects
                   cancellations to reach double-digit levels in 2009, followed by a very slow
                   recovery.

                   Cessna, the biggest business-jet maker in terms of numbers, announced
                   last week that it would layoff 2,000 workers - in addition to the 500 jobs
                   it cut in December - to "ensure our long-term stability and success" as
                   customers defer orders.

                   Analysts expect more details from aircraft makers and their suppliers,
                   which will report fourth-quarter earnings in coming weeks. Textron
                   reports earning Jan. 29, with Honeywell International Inc. following on
                   Jan. 30 and fellow supplier Rockwell Collins Inc. on Feb. 3. Hawker
                   Beechcraft, which is jointly owned by Toronto-based Onex Corp. and
                   Goldman Sachs Group, is expected to report next month.

                   Fleet order have grown from an occasional presence in manufacturers'
                   order books to a key presence, with many coming from companies that
                   have yet to prove their staying power, Mr. Foley said.

                   ''Where previous order books were speckled with fleet orders from a
                   handful of fractional providers, current order books sport a cadre of
                   unproven, startup-fleet purchasers launching amid a world-wide
                   recession," he said.

                                                        ***

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                 "These times may one day be remembered in our industry as the 'jet' bust,
                 analogous to the 'dot-com' bust of yesteryear," Mr. Foley said in a recent
                 report.


         59.     On January 29, 2009 the Company issued a press release entitled "Textron

  Reports Fourth Quarter and Full-Year Financial Results." The press release stated in pertinent

  part as follows:


                 Textron Inc. (NYSE: TXT) today reported fourth quarter 2008 income
                 from continuing operations, excluding special charges, of $0.40 per share,
                 consistent with its December 22, 2008 press release.

                 Revenues in the quarter were $3.6 billion, up slightly compared to the
                 fourth quarter of 2007.

                 On a GAAP basis, Textron reported a loss from continuing operations for
                 the quarter of $348 million or $1.44 per share, as compared to fourth
                 quarter 2007 income from continuing operations of $247 million or $0.97
                 per share. Including discontinued operations, Textron's fourth quarter
                 2008 net loss was $209 million or $0.87 per share, compared with fourth
                 quarter 2007 net income of $256 million or $1.00 per share.

                 On December 22, 2008, the company announced a plan to exit all non-
                 captive [mandal business. As a consequence, in the quarter, Textron
                 recorded a number of special charges including 4 $293 million pre-tax
                 mark-to-market adjustment against finance receivables held for sale, a
                 $169 million pre-tax impairment charge to eliminate Textron Financial
                 Corporation's (TFC) goodwill and a $31 million tax charge related to the
                 change in investment status of TFC's Canadian subsidiary. Textron also
                 recorded a pre-tax restructuring charge of $64 million related to cost-
                 saving initiatives across the enterprise.

                 For the full year, Textron's manufacturing group generated net cash from
                 operating activities before capital contributions to and net dividends from
                 TFC of $899 million and incurred capital expenditures of $542 million.

                 TFC paid Textron net dividends of $142 million during the year. During
                 the fourth quarter Textron made a $625 million capital contribution into
                 TFC to maintain the earnings to fixed charge coverage ratio under the
                 support agreement between Textron and TFC. Cash flow from operations
                 for the Manufacturing group under a GAAP basis totaled $416 million as
                 compared to $1.2 billion for 2007.



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             Economic conditions continued to weaken during the fourth quarter,
             significantly impacting our Industrial and lFC businesses," said Textron
             Chairman and CEO Lewis B. Campbell. "However, for the year, we had
             strong performance at Bell, Cessna and Textron Systems," Campbell
             added.

                                                  ***
             Outlook

             Looking to 2009, the company expects the economy will continue to
             impact results at lFC and result in lower volumes at Cessna and
             Industrial. On this basis, the company estimates 2009 revenues will be
             approximately $12.5 billion, free cash flow from continuing operations of
             the manufacturing group will be about $450 million and earnings per share
             from continuing operations will be in the range of $1.00 to $1.50
             excluding expected pre-tax restructuring charges of about $40 million.

                                                  ***
             Segment Results

             Cessna

             Cessna's fourth quarter revenues and segment profit decreased $64 million
             and $90 million respectively, compared with the fourth quarter of 2007.
             Revenues decreased in spite of the sale of more jet units, primarily
             reflecting a higher proportion of Mustang sales. This decrease was
             partially offset by higher pricing and the benefit from the acquisition of
             the Columbia single engine product lines.

             Segment profit decreased due to used aircraft valuation adjustments, the
             impact from lower revenue mix, higher product development expense and
             overhead costs.

             Cessna Backlog at the end of the fourth quarter was $14.5 billion, up $1.9
             billion from the end of last year.

                                                  ***
             Finance revenues decreased $64 million in the fourth quarter due to lower
             market interest rates, and lower securitization gains which were partially
             offset by the benefit of interest rate floors.

             Segment profit decreased $171 millions as a result of increased loan loss
             provisions, higher borrowing costs and lower securitization gains, partially
             offset by the benefit of interest rate floors.



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                 Increased loan loss provisions reflected weakening general market
                 conditions, declining collateral values and the lack of liquidity available to
                 our borrowers and their customers. These provisions also incorporated
                 estimates for an increase in expected credit losses resulting from TFC's
                 exit plan.

                 Sixty-day plus delinquencies increased to 2.59% from 1.06% at the end of
                 the third quarter. Nonperforming assets increased to 4.72% compared to
                 2.67% in the third quarter.

                 Managed receivables ended the year at $10.8 billion, versus $11.4 billion
                 at the end of the third quarters.


         60.     In response to the news, Textron common stock fell 32% to $9.09 per share.

        61.      At various times during the Class Period, the artificial inflation was released from

 Textron stock, which opened Class Period trading on December 31, 2006 at $46.89 per share
 (split adjusted, and the last trading day before the Class Period was December 29, 2006) and

 closed on January 29, 2009 at $9.09 per share, down $37.80 per share, or almost 81%.

        62.      Post Class Period revelations confIrm the imprudence of the Textron Stock fund

 for the Plan.
        63.      On February 5, 2009, analysts at J.P. Morgan cut their rating on Textron to neutral

 from overweight, citing liquidity concerns at the company's [mancial arm and a difficult

 environment for divestitures. The broker said that the overweight rating on Textron is "tough to
 support with current fundamentals, persistent concerns around liquidity and management's

 subpar track record on execution."
        64.      On February 9, 2009, the Company announced that its chief financial officer Ted

 French would step down immediately, Buell "Jay" Carter, and the head of subsidiary Textron
 Financial Corp., was retiring. The Wall Street Journal noted that the "sudden departures          0
 follow major fourth-quarter losses by the [mancial unit and the threat of a downgrade of the

 helicopter and private-jet maker's credit rating."

        65.      On April 28, 2009 the Company issued a press release entitled ''Textron Reports

 First Quarter Earnings of $0.35 per Share; Ends Quarter with $1.7 Billion in Cash; Reduction of


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 Finance Portfolio Ahead of Plan." The press release recognized that there were 92 net Cessna

 cancellations during the first quarter of 2009 and the Company's fmance segment profit was

 down $108 million as a result of increased loan loss provisions, lower securitization gains and

 lower other income, in part related to the company's liquidation plan, partially offset by the

 benefit of interest rate floors.

         66.     Swnming up years of problems at the Company, on July 21, 2009, Reuters

 reported that Textron's credit ratings are teetering on the edge of junk: territory, risk being

 downgraded if the company falls behind in executing ins fmancial plan, and Fitch Ratings cut its

 ratings on Textron and its financial arm into junk territory in April of 2009, that Moody's

 Investors Service the same month cut Textron and Textron Financial to Baa3, the lowest

 investment grade, and gave the company a negative outlook, indicating a downgrade into junk

 may be likely in the next 12 to 18 months. The article further reported that:


                 Textron Inc's debt values and credit ratings risk coming under pressure if
                 the diversified manufacturer falls behind schedule in shoring up liquidity
                 and shrinking its lending arm.

                 Providence, Rhode-Island-based Textron is seeking to unwind its
                 noncaptive fmancial business as it grapples with higher loan losses at the
                 same time as the world's largest maker of business jets' earnings have
                 been hurt by a sharp falloff in demand.

                 The company has slashed its dividend, raised new capital and committed
                 to a timeline to improving its liquidity, though concerns that the company
                 may fall behind schedule have weighed as it also faces $2.3 billion in
                 maturing debt in 2010, most of which is at its fmancial arm, Textron
                 Financial Corp.

                         MISMANAGEMENT OF PLAN ASSETS


        67.      Pursuant to ERISA § 404(a), 29 U.S.c. § 1104(a), at all times relevant to this

 Complaint, Defendants had a duty to discharge their duties with respect to the Plan with the care,

 skill. prudence and diligence under the circumstances then prevailing that a prudent person

 acting in a like capacity and familiar with such matters would use in the conduct of an enterprise

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  of a like character and of like aims, and to diversify investments in the Plan so as to mjnimize the

  risk of large losses, unless under the circumstances it is clearly prudent not to do so.

           68.    Defendants are not entitled to the protections of ERISA § 404(c), 29 U.S.c. §

  1104(c), because the Participants did not exercise independent control over their accounts,

  because Defendants subjected them to improper influence with respect to the Plan's investments

  in Textron common stock, and because Defendants concealed material non-public information

  concerning Textron that they were not precluded from disclosing under applicable law.

           69.    Defendants breached their fiduciary duties in that they should have known the

  facts alleged above and should have known that the Plan should not have invested in Textron

  common stock during the Class Period.

      FIRST CLAIM: IMPRUDENT INVESMENT IN TEXTRON COMMON STOCK

                                 (AGAINST ALL DEFENDANTS)



           70.    Plaintiff realleges and incorporated herein by reference the allegations set forth

  above.

           71.   Pursuant to ERISA § 409(a), 29 U.S.c. § 1109(a), any fiduciary who breaches

  any of the responsibilities, obligations or duties imposed by ERISA § 404 shall be personally

  liable to make good the Plan any losses to the Plan resulting from each breach and shall be

  subject to such other equitable and remedial relief as the court may deem appropriate.

           72.   Pursuant to ERISA § 409(a) Defendants had a duty to discharge their duties with

  respect to the Plan solely in the interest of the Participants and for the exclusive purpose of

  providing benefits to the Participants. Defendants' selection, monitoring, and continuation of the

  investment alternatives under the Plan were subject to the above-described fiduciary duties. By

  their continuing to offer Textron common stock as an investment under the Plan, when Textron's

  true adverse financial and operating condition was being concealed, Defendants breached each of

  these fiduciary duties.



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          73.    In particular, Textron was an imprudent retirement investment for the Plans

  during the Class Period because of, inter alia, the facts that:

                 (a)      The Company's Class Period forecasts contained in the SPD or in

  documents incorporated by reference in the SPDs were unreasonable and over-optimistic in light

  of market conditions;

                 (b)      The Company's "record backlogs" contained in the SPD or in documents

  incorporated by reference in the SPDs of Cessna orders were not as finn as Defendants' led

  Participants to believe which undennined the reasonableness of the forecasts referenced above;

                 (c)      The Company did not timely write down assets due to generally poor debt

  management ensured that the assets of its fmance segment were materially overstated;

                 (d)      The company's credit rating would necessarily suffer as a result of

  material overstatements in the Company's finance segment when the deterioration began to be

  reported to the investing public;

                 (e)      As a result of the above and other facts, the Company's projections were

  skewed and its ability to generate future revenue were severely jeopardized;

                 (t)      The Company lacked the required internal controls, and, as a result, the

  Company's projections were based upon defective assumptions; and,

                 (g)      As a result of the above, the Company's stock was both artificially inflated

  and an imprudent retirement investment.

         74.     As a consequence of Defendants' breaches, the Plan performed worse than a

  portfolio of the same size would have if it had been invested in prudent investments.

         75.     Defendants are individually liable to make good to the Plan any losses to the Plan

  resulting from each breach.

         76.     Pursuant to ERISA § 502(a)(3), 11 U.S.C. § 1132(a)(3), the Court should also

  award appropriate equitable relief, including in the form of restitution.


                   SECOND CLAIM: MATERIAL MISREPRESENTATION

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                                 (AGAINST ALL DEFENDANTS)


           77.   Plaintiff realleges and incorporates here by reference the allegations set forth

  above.

           78.   Pursuant to ERISA § 409(a), 29 U.S.c. § ll09(a), any fiduciary who breaches

 any of the responsibilities, obligations or duties imposed by ERISA § 404 shall be personally

 liable to make good to the Plan any losses to the Plan resulting from each breach and shall be

 subject to such other equitable and remedial relief as the court may deem appropriate.

           79.   Pursuant to ERISA § 404, Defendants had a duty to discharge their duties with

 respect to the Plan solely in the interest of the Participants and for the exclusive purpose of

 providing benefit to the Participants.

           80.   Defendants breached these duties in that they made material misrepresentation

 and nondisclosures as alleged above.

           81.   In particular, the Plan's fiduciary commuIDGations (such as SPDs) and SEC filings
 during the Class Period, including its proxy statements and SEC filing on Forms lO-Q lO-K and

 8-K, which were incorporated into the SPDs, were materially false and misleading in that they

 misrepresented the truth about the Company, and misleadingly concealed material adverse

 information, including, inter alia, the facts that:

                 (a)     The Company's Class Period forecasts were unreasonably over-optimistic

                         in light of market conditions;

                 (b)     The Company's poor profit margins artificially inflated its stock prices;

                 (c)    The Company's generally poor debt management ensured that the assets

                         of its finance segment were materially overstated;

                 (d)    The Company's credit ratings would necessarily suffer as a result of

                        material overstatements in the Company's finance segment;

                 (e)    As a result of the above, the Company's projections were skewed and its

                        ability to generate future revenue were severely jeopardized;

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                 (1)     The Company lacked the required internal controls, and, as a result, the

                         Company's projections were based upon defective assumption and/or

                         manipulated facts;

                 (g)     The Company lacked the necessary personnel to issue accurate financial

                         reports and projections; and,

                 (h)     As a result of the above the Company's stock was both artificially inflated

                         and an imprudent retirement investment.

          82.    The Participants relied upon, and are presumed to have relied upon, Defendants'

  material misrepresentations to their detriment.

          83.    As a consequence of Defendants' material misrepresentations, the Plan suffered

  losses and damages were suffered by the Plan because it performance was inferior to how it

  performed if it was invested in prudent investments.

          84.    Defendants are individually liable to make good to the Plan any losses to or

  damages suffered by the Plan resulting from each breach.

         85.     Pursuant to ERISA § 502(a)(3), 11 U.S.C. § 1132(a)(3), the Court should also

  award appropriate equitable relief, including in the form of restitution.

          TmRD CLAIM: NONDISCLOSURE/OMISSION OF MATERIAL FACTS
                                 (AGAINST ALL DEFENDANTS)
         86.     Plaintiff realleges and incorporates herein by reference the allegations set forth

  above except paragraphs 76-84.

         87.     Pursuant to ERISA § 404(a), 29 U.S.C. § 1l04(a), any fiduciary who breaches

  any of the responsibilities, obligations or duties imposed by ERISA § 404 shall be personally

  liable to make good to the Plan any losses to the Plan resulting from each breach and shall be

  subject to such other equitable And remedial relief as the court may deem appropriate.
          88.    Pursuant to ERISA § 404, Defendants had a duty to discharge their duties with

  respect to the Plan solely in the interests of the Participants and for the exclusive pwpose of

  providing benefits to the Participants.

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           89.   Defendants breached these fiduciaries in that they made nondisclosures as alleged

  above.

           90.   In particular, each and every fiduciary communication (including but not limited

  to SPDs, newsletters, account statements) during the Class Period omitted material, relevant data

  and other facts which were necessary for Plan participants to understand the true risk/return

  characteristics of an investment Company stock, including, inter alia, the facts that:

           91.   In particular, Textron was an imprudent retirement investment for the Plan during

  the Class Period because of, inter alia, the facts that:

                  (a)    The Company's Class Period forecasts were unreasonably over-optimistic

  in light of market conditions;

                 (b)     The Company's poor profit margins artificially inflated its stock prices;

                 (c)     The Company's generally poor debt management ensured that the assets

  of its finance segment were materially overstated;

                 (d)     The Company's credit ratings would necessarily suffer as a result of

  material overstatements in the Company's fmance segment;

                 (e)     As a result of the above, the company's projections were skewed and its

  ability to generate future revenue were severely jeopardized;

                 (f)     The Company lacked the required internal controls, and, as a result, the

  Company's projections were based upon defective assumptions and/or manipulated facts;

                 (g)     The Company lacked the necessary personnel to issue accurate financial

 reports and projections; and,




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                 (h)     As a result of the above the Company's stock was both artificially inflated

  and an imprudent retirement investment.           The Company's Class Period forecasts were

  unreasonably over-optimistic in light of market conditions;


           92.   The Participants relied upon, and are presumed to have relied upon, Defendants'

  omissions to their detriment.
           93.   As a consequence of Defendants' omissions the Plan suffered losses and damages

  were suffered by the Plan because its performance was inferior to how it performed if it was

  invested in prudent investments.
           94.   Defendants are individually liable to make good to the Plan any losses to or

  damages suffered by the Plan resulting from each breach.

           95.   Pursuant to ERISA § 502(a)(3), 11 U.S.C. § 1132(a)(3), the Court should also

  award appropriate equitable relief, including in the form of restitution.

                            FOURm CLAIM: DIVIDED LOYALTY
                       (AGAINST mE INDIVIDUAL DEFENDANTS ONLY)

           96.   Plaintiff realleges and incOlporates herein by reference the allegations set forth

  above.
           97.   Pursuant to ERISA § 409(a), 29 U.S.C. § ll09(a), any fiduciary who breaches

  any of the responsibilities, obligations or duties imposed by ERISA § 404 shall be personally

  liable to make good to the Plan any losses to the Plan resulting from each breach and shall be

  subject to such other equitable and remedial relief as the court may deem appropriate.

           98.   Pursuant to ERISA § 404, Defendants had a duty to discharge their duties, with

 respect to the Plan solely in the interests of the Participants and for the exclusive purpose of
 providing benefits to the Participants.
           99.   Defendants breached their fiduciary obligations when they acted in their own

 interests rather than solely in the interests of the Participants and Beneficiaries.



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         100.     As a consequence of these breaches, the Plan suffered losses and damages were

  suffered by the Plan because its performance was inferior to how it performed if it was invested

  in prudent investments.

         101.     Defendants are individually liable to make good to the Plan any losses to the Plan

  resulting from each breach.

         102.     Pursuant to ERISA § 502(A)(3), 11 U.S.c. § 1132(A)(3), the Court should also

  award appropriate equitable relief, including the form of restitution.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for:

         A.       Actual damages in the amount measured by the difference between the

  performance of Textron common stock in the plan during the Class Period compared to the

  performance of a prudent investment that the Plan could have invested in during the Class

  Period, with such damages to be allocated among the Participants' individual accounts in

  proportion to the accounts' damages incurred by those accounts;

         B.       Appropriate equitable relief, including in the form of restitution;

         C.       Costs pursuant to 29 U.S.c. § 1132(g);

         D.       Attorneys' fees pursuant to 29 U.S.C. § 1132(g) and the common fund doctrine as

 well as reimbursement of costs and expenses incurred in litigating this action including expert

 expenses; and,

         E.       Such other and further relief as the Court may deem equitable and just.




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                                     JURY TRIAL DEMAND

        Plaintiff demands trial by jury of all issues to triable.




                                             ~~
  November 10, 2009

                                             iCb3cl~~
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